        Case 3:18-cr-00095-SRU Document 127 Filed 10/25/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES                                      :       3:18-CR-00095-SRU
                                                   :
v.                                                 :
                                                   :
YEHUDI MANZANO                                     :       OCTOBER 25, 2021


               MOTION FOR PERMISSION TO TRAVEL OUT OF STATE


       The defendant, Yehudi Manzano, through his undersigned attorney, hereby

requests permission to travel to Puerto Rico from March 6, 2022 to March 20, 2022 with

family members. He will be staying at the home of Isabel Jusino at HC4 Box 46931

Mayaguez, PR 00380, from March 6, 2022 through March 13, 2022 and then travel to

the Holiday Inn Mayaguez & Tropical Casino 2701 Highway #2, km 149.9 Mayaguez,

PR 006680, US.


                                                           BY: /s/ NORMAN A. PATTIS /s/
                                                           PATTIS & SMITH, LLC
                                                           Fed. Bar. No. ct13120
                                                           383 Orange Street
                                                           First Floor
                                                           New Haven, CT 06511
                                                           T: 203-393-3017
                                                           F: 203-393-9745
                                                           Npattis@pattisandsmith.com


                                      CERTIFICATION

         This is to certify that on October 25, 2021 a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court’s electronic filing system, and the undersigned did cause to be sent, via First
Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court’s electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
filing through the Court’s system.

                                             /s/ NORMAN A PATTIS /s/
